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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                            )
PETER P. STRZOK,                            )
                                            )
                Plaintiff,                  )
                                           )    Civil Action No. 19-2367 (ABJ)
        v.                                  )
                                            )
ATTORNEY GENERAL MERRICK B.                 )
GARLAND, in his official capacity, et al.,  )
                                            )
                Defendants.                 )
                                            )
                                            )
                                            )
LISA PAGE,                                  )
                                            )
                Plaintiff,                  )
                                            )   Civil Action No. 19-3675 (TSC)
        v.                                  )
                                            )
U.S. DEPARTMENT OF JUSTICE, et al.,         )
                                            )
                Defendants.                 )
                                            )
                                            )
                                           )
ATTORNEY GENERAL MERRICK                   )
GARLAND, in his official capacity, UNITED  )
STATES DEPARTMENT OF JUSTICE, FBI          )
DIRECTOR CHRISTOPHER A. WRAY, in his )
official capacity, FEDERAL BUREAU OF       )
INVESTIGATION,                             )
                                           )
                            Movants,       )
                        v.                 )    Case No.: 1:22-mc-27 (ABJ)
                                           )
PETER P. STRZOK                            )
                                           )
IN RE SUBPOENA SERVED ON                   )
DONALD J. TRUMP                            )
                                           )
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                                   [PROPOSED] ORDER

       Having considered Defendants’ Motion for Reconsideration of Order Denying in Part

Defendants’ Motion to Quash Subpoena for Deposition of Former President Trump, any

opposition, and the entire record herein, it is hereby ORDERED:

       Defendants’ Motion for Reconsideration is GRANTED.         Plaintiff Peter P. Strzok’s

subpoena for the deposition of former President Trump is hereby QUASHED.

       SO ORDERED.

       Dated:
                                                   Hon. Amy Berman Jackson
